             Case 2:24-cv-01463-JHC          Document 7       Filed 02/19/25     Page 1 of 1




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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7
      MASOUD KHAZALI,                                  CASE NO. 2:24-cv-01463-JHC
 8
                                                       ORDER
 9
                         Plaintiff,
10
             v.
11
      WASHINGTON STATE DEPARTMENT
      OF LABOR & INDUSTRIES,
12

13
                       Defendant.
14

15
            On January 23, 2025, the Court ordered Plaintiff to show cause within ten (10) days why
16
     this matter should not be dismissed without prejudice for failure to comply with Federal Rule of
17
     Civil Procedure 4(m). Dkt. # 6. Plaintiff failed to respond. Accordingly, the Court DISMISSES
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     this matter without prejudice for failure to comply with Rule 4(m).
19
            Dated this 19th day of February, 2025.
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21
                                                         a
22                                                       John H. Chun
                                                         United States District Judge
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     ORDER - 1
